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              IN THE UNITED STATES DISTRICT COURT FOR
               THE EASTERN DISTRICT OF PENNSYLVANIA

KILBRIDE LIMITED IN LIQUIDATION,
BUSYSTORE LIMITED IN LIQUIDATION,
and BERGFELD CO. LIMITED,

                Plaintiffs,

vs.                                           Case No. 13-CV-5195 (JD)

CUSHMAN      &    WAKEFIELD     OF
PENNSYLVANIA, INC., BLANK ROME LLP
and COZEN O’CONNOR, P.C.,

                Defendants.
CUSHMAN    &      WAKEFIELD              OF
PENNSYLVANIA, INC.,

                Third-Party Plaintiff,

vs.

JFK BLVD. ACQUISITION GP LLC, CHAIM
ZEV LEIFER, and HESKEL KISH,

                Third-Party Defendants.




                 AGREED STATEMENT TO BE READ TO JURY
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       Plaintiffs have sued Defendant Cushman & Wakefield of Pennsylvania, Inc (“C&W”) for

fraudulent misrepresentation. Plaintiffs are two companies organized under the laws of the United

Kingdom, Bergfeld Co., Limited and Busystore Limited in Liquidation.               Their corporate

representative is Mr. Berish Berger; who as a director and part owner, acted for them throughout

the relevant events. Defendant C&W is a global real estate services firm.

       At the center of the case is a piece of Philadelphia real estate known as River City. In early

2006, two men, Ravinder Chawla and Richard Zeghibe, developed a plan to purchase the River

City site for $32.5 million from an entity called R&F Penn. A special purpose entity, JFK BLVD

Acquisition GP, LLC (“JFK”), was created to take title to the property. An architect, James

Rappoport, designed a development for the site and River City was ultimately marketed as a 12-

million-square-foot mixed-use development, featuring multiple skyscrapers.

       By the fall of 2006, Zeghibe and Chawla contracted to sell their interest in the site to Eli

Weinstein for a base price of $62.5 million. Thereafter, Mr. Berger was solicited to participate in

the transaction. Weinstein arranged for a meeting with Berger in London, during which Weinstein

discussed the River City Project and Berger’s potential participation. On December 6, 2006,

Berger attended a meeting at architect Rappoport’s office, attended by Weinstein, Chawla,

Rappoport and others where Rappoport gave a detailed presentation about the project.

       On December 8, 2006, Berger was provided with an appraisal report prepared by C&W

valuing the River City property at $77 million. On December 18, 2006, Berger arranged for $12

million to be sent for the River City deal. Two days later, he arranged for one of his real estate

companies to send $9.5 million to Weinstein for a separate Philadelphia property, 2040 Market St.

Neither of those transfers are at issue against C&W today. On January 8, 2007, at Weinstein’s

request, Berger caused $10 million of Plaintiff Busystore’s funds to be transferred to Weinstein’s

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entity, Pine Projects. On January 18, 2007, at Weinstein’s request, Mr. Berger caused $5 million

of Plaintiff Bergfeld’s funds to be wired to Pine Projects. It is these three transfers (totaling $15

million) that are at issue against C&W. Plaintiffs never received an ownership interest in River

City and the funds were never recovered.

        Weinstein and Chawla have, among others, already been found liable to the Plaintiffs for

fraud and conspiracy to defraud respectively. In this case, Plaintiffs claim that the C&W Appraisal

contained fraudulent misrepresentations by falsely stating that there were no building height

restrictions on the property and also materially departing from Uniform Standards of Professional

Appraisal Practice (known as USPAP), all which led to an inflated value of the property. Plaintiffs

claim that in reliance on the appraisal, Mr. Berger caused his affiliated entities to invest millions

of dollars and received nothing in return, investments that would never have been made but for the

C&W Appraisal.

        To succeed on their fraud claim against C&W, Plaintiffs must prove that C&W made (1)

a representation; (2) which is material to the transaction at hand; (3) falsely, with knowledge of

its falsity or recklessness as to whether it is true or false; (4) with the intent of misleading another

into relying on it; (5) justifiable reliance upon the misrepresentation; and (6) the resulting injury

was proximately caused by the reliance.

        C&W maintains that its appraisal was not a fraudulent misrepresentation and has nothing

to do with the case. C&W maintains that Plaintiffs’ losses are attributable solely to Weinstein,

who stole all of their money, [as part of a larger real estate Ponzi fraud scheme].1 C&W maintains




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        The Parties disagree as to this characterization. Whether evidence of Weinstein’s other
crimes are admissible is currently the subject of a pending Motion in Limine. Moreover,
Plaintiffs contend the language is inflammatory. C&W contends the language should be
included if the Court denies the Motion in Limine on this point.
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that it prepared the Appraisal solely for JFK, not for Plaintiffs, and did not even know of

Weinstein, Berger, or of Plaintiffs’ existence. C&W maintains that its Appraisal was prepared for

internal review by JFK, the purchaser from R&F Penn and not for subsequent purchasers from

JFK including Plaintiffs. C&W maintains that Berger formed a partnership with Weinstein to

purchase the River City Property from JFK. Although Berger now maintains that he thought he

was an investor, C&W maintains Berger was lied to and defrauded by Weinstein and was not

entitled to consider or rely on the Appraisal. In the end, C&W asserts that nothing about the

Appraisal could have caused Plaintiffs’ damages. C&W contends that the funds transferred were

stolen by Weinstein, and a jury in prior litigation has already found him liable to Plaintiffs for

fraud. But for Weinstein, C&W maintains that Plaintiffs would have their Property or their funds.

       C&W’s engagement letter between with JFK contains a provision stating that JFK will

indemnify any damages from sharing the Appraisal with anyone who was not entitled to receive

it. To prevail on a claim for indemnification under contract, C&W must demonstrate that a

contract existed between itself and JFK, that JFK breached the contract, and that C&W sustained

damages as a result of the breach. If C&W is found liable, it maintains then JFK is must cover

any damages against it.

       JFK denies liability on the claim for indemnification.




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                                   /s/ Mary Kay Brown                           .
Dated: January 31, 2020            Mary Kay Brown, Esquire
                                   BROWN MCGARRY NIMEROFF LLC
                                   Attorneys for Plaintiffs, Busystore Limited in
                                   Liquidation and Bergfeld Co. Limited



                                  /s/ Nathan Heller                             .
Dated: January 31, 2020           Nathan Heller, Esquire
                                  DLA PIPER LLP
                                  Attorneys for Defendant, Cushman            &
                                  Wakefield of Pennsylvania, Inc.


                                  /s/ Andrew Teitelman                   .
Dated: January 31, 2020           Andrew Teitelman, Esquire
                                  LAW       OFFICES      OF     ANDREW
                                  TEITELMAN P.C.
                                  Attorneys for Third-Party Defendant JFK
                                  BLVD Acquisition GP, LLC




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